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                  EXHIBIT L
              Mesiti Declaration
            Jacki Easlick Webpage
11/14/23, 7:14 AM     Case 2:23-cv-02000-WSS                    DocumentTote
                                                                          11-12
                                                                             Hanger® | Filed  11/20/23
                                                                                       JackiEaslick                                Page 2 of 2
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                                                                                                              New York Handbag Designer Jacki Easlick invented the
                                                                                                              new Tote Hanger®. These premium hooks are especially
                                                                                                              engineered to hang your handbags with elegance and
                                                                                                              balance. It's a small metal hook that is designed to hang
                                                                                                              on any traditional clothing rod just like coat hangers.
                                                                                                              Simply remove the contents of your handbag and hang
                                                                                                              your handbag on the hook. Made out of nickel and the
                                                                                                              size is 3-3/4"h x 2"w. 6 hooks per pack.

                                                                                                              We own the patent and trademark. Please do not
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                                                                                                              The Tote Hangers are sold at The Container Stores,
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                                                                                                              type: tote hanger by: jacki easlick llc




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